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   8                           UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
   9
   10 3C ENGINEERING, INC.                      Case No. 2:22−cv−01395−SB−RAO
   11        Plaintiff(s),
                                                PRETRIAL AND TRIAL ORDER
   12                    v.
                                                [updated 1-10-22]
   13 CENTRAL COAST COMMUNITY
      ENERGY, et al.
   14
           Defendant(s).
   15
   16
   17
   18
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                                1. Pretrial Conference
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   21                           2. Trial: Conduct of Attorneys and Parties

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   1    1.   PRETRIAL CONFERENCE.

   2         a.   The Conference. A final pretrial conference (PTC) date has been set

   3              pursuant to Fed. R. Civ. P. 16 and Local Rule (L.R.) 16-8. Each party

   4              must be represented at the PTC by its lead trial counsel. Counsel should

   5              be prepared to discuss streamlining the trial, including following

   6               matters:

   7              i.     Jury selection procedures;

   8              ii.    Witnesses each party intends to call, including (1) the time

   9                     anticipated for each witness (direct and cross), (2) any witness

   10                    scheduling issues or special needs (e.g., interpreter);

   11                    and (3) whether any deposition will be used in lieu of live testimony;1

   12             iii.   Evidentiary issues, including anticipated objections to exhibits,

   13                    opening statements, and under Rule 403;

   14             iv.    Stipulations, which must be reduced to writing and included as an

   15                    exhibit;

   16             v.     Pretrial motions, including motions in limine, to bifurcate, and to

   17                    sever;

   18             vi.    Jury Instructions, including any disputed jury instructions; and

   19             vii.    Time Limits.

   20        b.    Pretrial Conference Documents. The PTC Documents shall be filed

   21             according to the Schedule immediately below (unless superseded by a

   22             subsequent specific order) and in compliance with the Instructions in

   23             Section 1(c) below. The parties also must file a PTC Binder as set forth

   24   ________________

   25
        1Remote   testimony is disfavored because technology limitations almost inevitably
   26   interrupt the presentation of the evidence and may affect witness evaluation. When
        remote testimony is allowed, the Court prefers the parties to conduct a videotaped
   27   deposition in lieu of live testimony. The parties are warned that if the Court permits
        either remote testimony or videotaped deposition testimony, they bear the risk that
   28   technological difficulties may foreclose their ability to present the evidence.


                                                   2
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   1                 in Section 1(b)(ii) below.

   2            i.      Schedule.

   3                     At least four weeks before the PTC, the parties must file:

   4                           Memorandum of contentions of fact and law

   5                           Joint 2 witness list

   6                           Joint exhibit list

   7                           Joint status report on settlement

   8                           Requests for judicial notice

   9                           Proposed findings of fact and conclusions of law (court trial)3

   10                          Direct testimony declarations, if ordered (court trial)

   11                    At least two weeks before the PTC, the parties must file:

   12                          Proposed PTC order

   13                          Joint proposed jury instructions

   14                          Joint verdict forms

   15                          Joint statement of the case

   16                          Proposed voir dire questions, if any

   17                          Joint motions in limine

   18                          Trial briefs

   19                          Evidentiary objections to declarations (court trial)

   20           ii.      PTC Binder. Two weeks before the PTC, the parties must deliver

   21                    to Judge Blumenfeld's mailbox outside the Clerk's Office on the

   22   ________________
        2A joint filing (e.g., joint witness list) does not simply mean combining each party's
   23
        individual filing into a single document. Parties must meet and confer to resolve
   24   disputes wherever possible and to avoid duplication or conflicting information in
        the joint filing. Any remaining disputes must be clearly noted in the joint filing.
   25
        3 Proposed findings and conclusions and witness declarations are required only in
   26   court trials. The parties in a court trial do not need to submit jury documents
        (i.e., voir direquestions, statement of the case, jury instructions, and verdict forms).
   27
   28


                                                      3
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   1                     4th Floor of the First Street Courthouse a binder that contains both

   2                     a hard copy of all PTC Documents with a table of contents and a

   3                     flashdrive with the PTC Documents in Word format. The hard copy

   4                     should be placed in a binder that is three-hole punched on the

   5                     left side, without staples, and separated by labeled dividers. The

   6                     flashdrive should be placed securely in an envelope in the pocket

   7                     of the binder. Arrange the documents in the following order:

   8                     (1) trial briefs; (2) proposed PTC order; (3) memoranda of

   9                     contentions of fact and law; (4) joint witness list; (5) joint exhibit

   10                    list; (6) challenged exhibits; (7) joint jury instructions; (8) joint

   11                    verdict forms; (9) joint statement of the case; (10) any voir dire

   12                    questions; and (11) joint motions in limine.

   13            iii.    No Further Filings. The parties shall work diligently to provide

   14                    complete and final PTC Documents that reflect a serious attempt to

   15                    prepare for trial. The parties shall not file any amended or

   16                    supplemental PTC Documents or any other trial documents

   17                    without leave of court.

   18            iv.     Local Rule 16. Pursuant to L.R. 16-2, lead trial counsel for each

   19                    party are required to meet and confer in person or by video-

   20                    conference. The Court expects strict compliance with L.R. 16-2. The

   21                    PTC documents must comply with L.R. 16, except as modified in

   22                    Section 1(c) below. The format of the proposed PTC order must

   23                    conform to the format set forth in Appendix A to the L.R.s. Failure

   24                    to comply may result in the continuance of the PTC and sanctions.

   25       c.    Instructions on PTC Documents.

   26            i.     Memorandum of Contentions of Law and Fact. Each party is limited

   27                    to 20 pages for their memorandum of contentions of law and fact

   28


                                                    4
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   1                  and should follow the Court's general requirements for formatting

   2                  motions set forth in the Court's Civil Standing Order. Jointly

   3                  represented parties must submit a single memorandum.

   4           ii.   Joint Witness List. The parties must submit a joint witness list that

   5                  includes a brief description (one or two paragraphs) of the

   6                  testimony and a time estimate for both direct and cross-

   7                  examination (separately stated), as follows:

   8                                     Plaintiff
   9                                                                50 min. (30 min.
                      1. John Smith                                direct/20 min. cross)
   10
                         He will testify_______________.
   11
   12                List the plaintiff’s witnesses first followed by the defendant’s

   13                witnesses. The failure to provide a specific description of the

   14                anticipated testimony may result in exclusion of evidence or

   15                reduced time allocated for the witness. The parties shall meet to

   16                prepare this joint witness list no later than two weeks before the

   17                first pretrial filing deadline, and continuing as necessary, and shall

   18                cooperate in reasonably identifying the time needed for direct

   19                examination and cross-examination on each subject. The parties

   20                must provide realistic estimates that demonstrate a serious

   21                assessment of trial needs. A party that provides “conservative”

   22                estimates may be required to submit declarations or detailed offers

   23                of proof for each witness to allow for a more realistic assessment.

   24                In addition, the parties are to provide a “clean” version

   25                of the joint witness list to be read to the jury panel during voir

   26                dire. The clean version should contain only the names of potential

   27                witnesses listed in alphabetical order. Include dates of birth

   28                for common names.


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   1          iii.   Joint Exhibit List. The parties shall submit a joint exhibt list that

   2                 conforms to the requirements of L.R. 16-6.

   3                 At trial, each exhibit must be introduced for admission as a

   4                 whole rather than a portion thereof. For example, if a party seeks

   5                 to introduce a portion of a business record, the portion to be

   6                 introduced must be presented as its own exhibit (and not as part

   7                 of a whole). This applies to all evidence, including photographs

   8                 and other reproductions or depictions. If the parties did not

   9                 organize their exhibits in that matter, they must meet and confer

   10                to address this issue and raise it at the PTC.

   11                To the extent that the parties disagree about the admissibility

   12                of exhibits that a party intends to introduce, they must meet and

   13                confer to determine if the challenged exhibit(s) will be introduced

   14                and if the objection can be resolved by discussion of the merits of

   15                the objection or a stipulation of fact in lieu of the use of the

   16                exhibit. If the parties are unable to resolve the objections, they

   17                must separately provide 14 days before the PTC a joint document

   18                entitled “Challenged Exhibits.” The Court expects counsel to act

   19                in good faith to narrow this list to a bare minimum. The

   20                challenged exhibits must be presented in table form below in

   21                exhibit number order with the first four columns completed by the

   22                parties (identifying the objections and responding parties as noted

   23                below):

   24
   25                 Ex. No. Description Objection             Response         [Ruling]
   26
                                                II:
   27
   28


                                                  6
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   1           iv   Joint Jury Instructions.

   2                The parties must exchange their respective proposed jury

   3                instructions and special verdict forms 14 days before the L.R. 16-2

   4                meeting and their respective objections to the other’s instructions

   5                and verdict forms 10 days before that meeting. At or before the

   6                Rule 16-2 meeting, counsel shall attempt to agree on all the

   7                proposed jury instructions and verdict forms. The Court expects

   8                counsel to agree on almost all the jury instructions, particularly

   9                when pattern or model instructions provide a statement of

   10               applicable law.

   11               Fourteen days before the PTC, counsel must file a joint set of jury

   12               instructions on which there is agreement−−making sure to fill in

   13               all blanks or bracketed information in standard forms. For any

   14               disputed instruction, the parties shall submit the following: the

   15               proposed instruction; a one-paragraph statement in support of the

   16               instruction with legal citations; a one-paragraph statement in

   17               opposition to the instruction with legal citations; and any proposed

   18               alternative instructions.

   19               When the Manual of Model Jury Instructions for the Ninth

   20               Circuit provides an applicable jury instructions, submit the most

   21               recent version, modified and supplemented to fit the

   22               circumstances of this case. Where California law applies, use the

   23               current edition of the Judicial Council of California Civil Jury

   24               Instructions (CACI). If neither is applicable, consult the current

   25               edition of O’Malley, et al., Federal Jury Practice and Instructions.

   26               Each requested instruction must: (1) cite the authority or source of

   27               the instructions; (2) be set forth in full; (3) be on a separate page;

   28               (4) be numbered; (5) cover only one subject or principle of law;


                                                7
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   1                and (6) not repeat principles of law contained in any other

   2                requested instruction. Counsel may submit alternatives to these

   3                instructions only if counsel has a reasoned argument that they do

   4                not properly state law or are incomplete.

   5                Counsel must provide an index of all instructions submitted,

   6                which must include the following: (1) the instruction number;

   7                (2) the instruction title; (3) the instruction source (and any relevant

   8                case citations); and (4) the instruction page number.

   9                Use a table with the following format:

   10                  No.            Title             Source              Page No.
   11                   1
                              Trademark-Defined 9th Cir. 8.5.1                 1
   12
                    As part of the PTC Binder, counsel must provide a hard and
   13
                    electronic copy of: (1) the joint set of instructions and disputed
   14
                    instructions as described above; and (2) a “clean” set of jury
   15
                    instructions, numbered in list format, containing only the text of
   16
                    instructions (without a page break between each instruction).
   17
                    For the clean set, counsel must use the Court's template posted at
   18
                    the bottom of its webpage and follow the exact format.
   19
               v.   Statement of the Case. At the time of the filing the proposed PTC
   20
                    order, counsel should file a jointly prepared one-page statement of
   21
                    the case to be read by the Court to the prospective panel of jurors
   22
                    before commencement of voir dire.
   23
              vi.   Voir Dire. The Court will conduct the voir dire. The Court asks
   24
                    basic questions to obtain biographical information and determine
   25
                    whether a prospective juror can be fair given the type of case.
   26
                    Counsel may, but are not required to, file a short list of (no more than
   27
                    one or two pages of proposed case-specific voir dire questions at the
   28


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   1               time they file the proposed PTC order. Eight jurors will be selected,

   2                unless the Court indicates otherwise.

   3          vii. Joint Motions in Limine (JMILs). If the parties file motions in

   4               limine (including Daubert motions), they must adhere to JMIL

   5               procedures below, including a thorough meet and confer. Failure

   6               to cooperate and comply with these procedures may result in

   7               sanctions. Each party is limited to five motions in limine, absent

   8               leave of Court. JMILs should identify specific evidence to which

   9               the opposing party has expressly objected. Motions that generally

   10              seek to exclude evidence or argument−−e.g., “evidence not

   11              produced in discovery,” “opinions not disclosed in an expert report

   12              or deposition,” the “reptile theory” or “golden rule” argument−−are

   13              improper. A party with a general concern must meet and confer

   14              with the opposing party to determine if there is specific

   15              objectionable evidence or argument that will be introduced. Also,

   16              JMILs should not be disguised motions for summary adjudication

   17              of issues.

   18              •   Meet and Confer. Before filing a JMIL, the moving party

   19                  shall send a letter identifying the evidence to be excluded, the

   20                  specific terms of the order sought, and the rationale and

   21                  supporting authority. Counsel shall meet within five (5)

   22                  calendar days of the letter. If unable to resolve the issue(s),

   23                  counsel shall follow the briefing schedule below and file a

   24                  JMIL consisting of: (1) the moving party’s one-sentence

   25                  statement in bold of the evidence to be excluded and the

   26                  anticipated prejudice; and (2) each party’s contentions set

   27                  forth below a separate underlined heading for each party

   28                  (identifying the moving party, the opposing party, and the


                                               9
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    1                   moving party in reply). The moving party must include a

    2                   one-page declaration at the end of each JMIL demonstrating

    3                   that counsel discussed in good faith the specific evidence or

    4                   argument at issue.

    5               •   Briefing Schedule. (1) The moving party’s portion of the

    6                   JMIL is due 25 days before the PTC; (2) the opposing party’s

    7                   portion of the JMIL is due 18 days before the PTC; and (3)

    8                   the moving party’s reply portion is due 14 days before the

    9                   PTC. All JMILs must be filed and served at least 14 days

    10                  before the PTC.

    11              •   Page Limits. Five pages for the moving portion; five pages

    12                  for the opposing portion; and three pages for the reply

    13                  portion.

    14              •   Daubert Motions. For complicated Daubert motions, the

    15                  parties may request relief from the page limits and/or briefing

    16                  schedule ahead of the relevant deadlines. The requirements to

    17                  meet and confer and submit a joint filing will remain.

    18              •   Rulings. The Court reserves the right to change its ruling at

    19                  trial based on the development of the evidence that it did not

    20                  appreciate or “anticipate at the time of its initial ruling.”

    21                  United States v. Bensimon, 172 F.3d 1121, 1127 (9th Cir.

    22                  1999). In the event that a party believes in good faith that the

    23                  evidence at trial warrants reconsideration of a ruling, the party

    24                  must raise the issue outside the presence of the jury. The

    25                  Court also reserves the right to defer ruling on one or more of

    26                  the motions until trial.

    27              •   Advising Witnesses. Counsel are required to advise affected

    28                  witnesses to comply with the rulings; and counsel may be


                                               10
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   1                      held responsible if they fail to properly advise them.

   2    2.   TRIAL: CONDUCT OF ATTORNEYS AND PARTIES.

   3         a.    Promptness of Counsel and Witnesses.

   4               i.    The Court strictly requires the parties, their counsel, and their

   5                     witnesses to be on time for all trial proceedings. The Court will

   6                     not delay the trial or inconvenience jurors.

   7              ii.    No presenting party may be without witnesses. If a party’s

   8                     remaining witnesses are not immediately available, the Court may

   9                     deem that party to have rested.

   10             iii.   If a witness was on the stand at a recess, counsel who called the

   11                    witness must ensure the witness resumes the stand immediately

   12                    prior to when trial restarts.

   13             iv.    Counsel must notify the courtroom deputy clerk (CRD) in

   14                    advance if any witness requires the use of an interpreter or should

   15                    be accommodated based on a disability or for other reasons.

   16             v.     The Court generally will accommodate professional witnesses by

   17                    permitting them to be called out of order. Counsel calling such

   18                    witnesses must anticipate any potential need for accommodation

   19                    and discuss it promptly with opposing counsel. If a party objects

   20                    to an accommodation, counsel must meet and confer in advance of

   21                    raising the objection before the Court.

   22        b.     General Decorum.

   23              i.    All Rise. Counsel should rise when addressing the Court, and

   24                    when the Court or the jury enters or leaves the courtroom, unless

   25                    unable to do so or directed otherwise.

   26             ii.    Permission to Approach. Absent court permission, counsel should

   27                    not approach the CRD, the jury box, or the witness box. When

   28                    permission is granted, counsel must return to the lectern when the


                                                   11
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   1                   purpose for approaching has been accomplished.

   2           iii.    Leaving Counsel Table. Absent court permission, counsel should

   3                   not leave counsel table to confer with anyone in the back or outside

   4                   the courtroom while court is in session.

   5            iv.    Addressing the Court. Counsel must address all remarks to the

   6                   Court. Counsel must not address the CRD, the court reporter,

   7                   persons in the audience, or opposing counsel. Any request to re-

   8                   read questions or answers must be addressed to the Court. Counsel

   9                   must ask the Court’s permission to speak with opposing counsel.

   10            v.    Addressing Witnesses. Except for witnesses under 14 years old,

   11                  counsel must not address or refer to witnesses or parties, or counsel

   12                  by first names alone.

   13           vi.    Stipulations. Counsel must not offer a stipulation unless the party

   14                  offering the stipulation previously obtained agreement to the

   15                  stipulation, including the specific wording. All stipulations must

   16                  be reduced to writing and included as an exhibit.

   17          vii.    Reacting to Witness Testimony. Counsel must not express

   18                  approval or disapproval of witness testimony, including by verbal

   19                  uttterances (e.g., “Wow!”) or nonverbal means (e.g., by facial

   20                  expressions or head nods). Counsel must admonish their clients

   21                  and witnesses not to engage in such conduct.

   22          viii.   Communicating with Jurors. Counsel must not talk to jurors,

   23                  except when addressing them during opening statements and

   24                  closing arguments. Counsel should not talk to co-counsel,

   25                  opposing counsel, witnesses, or clients where the conversation can

   26                  be overhead by jurors. Each counsel should admonish counsel’s

   27                  own clients and witnesses to avoid such conduct.

   28


                                                12
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   1              ix.      One Lawyer Per Party Per Witness. Where a party has more than

   2                       one lawyer, only one lawyer may examine, or object to, a

   3                       particular witness.

   4         c.    Opening Statements, Examining Witnesses, and Summation.

   5              i.      Counsel must use the lectern.

   6              ii.     Counsel must not consume time by writing out words, drawing

   7                      charts or diagrams, etc. Please prepare such materials in advance.

   8              iii.     Counsel must ask questions of witnesses and may not make

   9                      comments or statements.

   10        d.        Objections to Questions.

   11             i.      When objecting, counsel must rise and state only the objection and

   12                     the legal ground of the objection (e.g., “Objection, hearsay”). If

   13                     counsel wishes to argue an objection, counsel must ask permission

   14                      (e.g., “May I be heard?”).

   15             ii.     Counsel must not use objections to guide the witness, recapitulate

   16                      testimony, or communication with the jury.

   17        e.    Trial Exhibits.

   18              i.      Each multi-page exhibit must be numbered for easy reference. In

   19                      addition, a party is generally expected to include in the exhibit only

   20                      those portions of the document that will be moved into evidence.

   21              ii.     Exhibits must be placed in three-ring binders indexed by exhibit

   22                      number with tabs or dividers on the right side. Counsel must

   23                      submit to the Court an original and copy of the binders. The spine

   24                      portion of the binder must indicate the volume number and each

   25                      volume must contain an index of each exhibit included therein.

   26              iii.     The Court requires that the following be submitted to the CRD on

   27                      the first day of trial:

   28                       • One binder (or set of binders) of original exhibits with the


                                                     13
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   1                      Court’s exhibit tags, yellow tags for plaintiff and blue tags for

   2                      defendant, stapled to the front of the exhibit on the upper

   3                      right-hand corner with the case number, case name, and

   4                      exhibit number placed on each tag.

   5                             All exhibits (except those to be used for impeachment
   6                            only) should have official exhibit tags attached and

   7                            bear the same number shown on the exhibit list.

   8                            Digital exhibit tags are available on the Court’s

   9                            website (Form G−14A plaintiff, Form G−14B

   10                           defendant) and may be used in place of the tags

   11                           obtained from the Clerk’s office. The defense exhibit

   12                           numbers must not duplicate plaintiff’s numbers.

   13                           If counsel intends to use an enlargement of an existing

   14                           exhibit, it must be designated with the number of the

   15                           original exhibit followed by an “A.”

   16                  • Two binders (or sets of binders) with a copy of each exhibit

   17                     tabbed with numbers as described above for use by the Court.

   18                     (Exhibit tags are not necessary on these copies.)

   19                  • Three copies of the party’s witness list in the order in which

   20                     the witnesses may be called to testify.

   21                  • Three copies of the joint exhibit list in the form specified in

   22                     L.R. 16-6 (Civil).

   23            iv.   A copy of the exhibit list with all admitted exhibits will be given to

   24                  the jury during deliberations. Counsel must review and approve

   25                  the exhibit list with the CRD before the list is given to the jury.

   26            v.    Where a significant number of exhibits will be admitted, the Court

   27                  encourages counsel to consider how to intelligibly present

   28                  testimony about exhibits by use of technology or otherwise (e.g.,


                                                14
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   1                    enlargements of important exhibits). The Court has equipment

   2                    available for use during trial. Details are posted on the

   3                    Court’s website. To make reservations for training, call the

   4                    Courtroom Technology Help Desk at 213-894-3061. Counsel is

   5                    responsbile for learning the use of the technology before trial.

   6                    Trial will not be interrupted for this purpose. The Court does not

   7                    permit exhibits to be passed up and down the jury box. Admitted

   8                    exhibits (or exhibits to which opposing counsel has expressed “no

   9                    objection”) may be “published” by briefly displaying them on the

   10                   screens in the courtroom.

   11             vi.    All counsel are to meet no later than ten days before trial and

   12                   stipulate, so far as possible, to foundation, waiver of the best

   13                   evidence rule, and those exhibits that may be received into

   14                   evidence at the start of the trial. The exhibits to be so received will

   15                   be noted on the Court’s copy of the exhibit list.

   16        f.   Depositions. A party intending to use a deposition for impeachment or

   17             in lieu of live testimony must lodge the original deposition with the CRD

   18             on or before the first day of trial. The untimely filing of the original

   19             deposition may result in exclusion. In addition, each party intending to

   20             present evidence by way of deposition testimony shall comply with the

   21             following instructions:

   22             i.    Identify on the original transcript the testimony the party intends to

   23                   offer by bracketing the questions and answers in the margins. The

   24                   opposing party shall likewise counter-designate any testimony it

   25                   plans to offer.

   26             ii.   Identify any objections to the proffered evidence in the margins of

   27                   the deposition by briefly providing the ground for the objection

   28                   and the response to the objection.


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    1                iii.   For all depositions offered in the case, the parties shall consistently

    2                       use different colored ink−−black for plaintiff and blue for

    3                       defendant−−for designations, counter-designations, objections, and

    4                       responses to objections.

    5                iv.    Provide an index for each deposition, placed behind the first page

    6                       of the deposition, identifying each page that contains a designation

    7                       or counter-designation.

    8          g.    Court Reporter. Any party requesting special court reporter services for

    9                any hearing (i.e., real time transmission, daily transcripts) must notify the

    10               reporter at least two weeks before the hearing date.

    11         The CRD will serve a copy of this Order personally or by mail on counsel for

    12    all parties to this action.

    13
    14              IT IS SO ORDERED.

    15
    16
    17
         Dated: May 24, 2022
    18                                                          Stanley Blumenfeld, Jr.
                                                           United States District Court Judge
    19
    20
    21
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                                                      16
